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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                      No. 18-1069 & 18-1205

                             Robert Braden v. Lockheed Martin Corp

                             (Originating Court No. 1-14-cv-04215)

                                           ORDER

In accordance with the agreement of the parties in the above-captioned case, the matter is hereby
dismissed pursuant to Fed. R. App. P. 42(b), without cost to either party. A certified copy of this
order is issued in lieu of a formal mandate.

For the Court,


s/ Patricia S. Dodszuweit
 Clerk
                                            A True Copy:
Date: April 3, 2018

kr/cc: Michael S. Burkhardt, Esq.
       Anjanette Cabrera, Esq.              Patricia S. Dodszuweit, Clerk
                                            Certified Order Issued in Lieu of Mandate
       Allyson N. Ho, Esq.
       Michael E. Kenneally, Esq.
       Susan M. Saint-Antoine, Esq.
       Kannon K. Shanmugam, Esq.
